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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF OKLAHOMA

Gary Snow, in his capacity as the                )
Personal Representative of the Estate of         )
J.B., Deceased,                                  )
                                                 )
                            Plaintiff,           )
                                                 )
vs.                                              ) Case No. CIV 10-486-JHP
                                                 )
HOC Industries, Inc.,                            )
                                                 )
                            Defendants.          )

       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW Plaintiff, Gary Snow in his capacity as the Personal

Representative of the Estate of J.B., and Defendant HOC Industries, Inc. and

through their respective undersigned counsel, and hereby stipulate and agree

that all claims between the aforementioned parties in the above-captioned and

numbered case be dismissed in the entirety with prejudice and with each party to

bear its own attorney’s fees and costs.



                                           Respectfully submitted,



                                            ___/s/ Patrick E. Carr___________
                                                Patrick E. Carr, OBA #1506
                                                Tye H. Smith, OBA #14595
                                                A. Laurie Koller, OBA #16857
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                                                Attorneys for Plaintiffs
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                                          ___/s/           ___________
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                                         Leslie Lynch, OBA #15124
                                         Gable & Gotwals
                                         One Leadership Square, 15th Floor
                                         211 North Robinson
                                         Oklahoma City, OK 73102
                                         Attorney for Defendant
                                         HOC Industries



                         CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of March, 2012, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s
electronic filing system upon the following:

Mr. Jeffrey Curran
Ms. Leslie Lynch
Gable & Gotwals
One Leadership Square, 15th Floor
211 North Robinson
Oklahoma City, OK 73102
Attorney for Defendant
HOC Industries


                                         By:    ___/s/ Patrick E. Carr_____
                                                     PATRICK E. CARR
